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                                                                                                   of 10IN CHAMBERS
                                                                                                        U.S.D.C ATLANTA
                                                                                                      Mar 25 2025
                                                                                                Date: _________________________
                                      United States District Court
                                      NORTHERN DISTRICT OF GEORGIA                              KEVIN P. WEIMER , Clerk
                                                                                                     Emilia McManus
                                                                                                By: ____________________________
                                                                       UNDER SEAL                         Deputy Clerk
  UNITED STATES OF AMERICA

  v.                                                                   CRIMINAL COMPLAINT
                                                                       Case Number: 1:25-MJ-283
  Carlos Sambrano


I, the undersigned complainant being duly sworn, state the following is true and correct to the best of my
knowledge and belief. At least on or about September 18, 2024 and continuing through at least January
14, 2025, in Jackson County, in the Northern District of Georgia, and elsewhere, the defendant did,
possess a firearm as a convicted felon, and conspire to purchase firearms in or affecting interstate
commerce on behalf, or at the request of, of any other person, knowing or having reasonable cause to
believe that such other person intends to use, carry, possess, or sell the firearms in furtherance of a felony,

in violation of Title 18, United States Code, Sections 922(g)(1) and 932.


I further state that I am a Special Agent and that this complaint is based on the following facts:
PLEASE SEE ATTACHED AFFIDAVIT


Continued on the attached sheet and made a part hereof.        Yes




                                                         Signature of Complainant
                                                         Zachary Howard

Based upon this complaint, this Court finds that there is probable cause to believe that an offense has
been committed and that the defendant has committed it. Sworn to me by telephone pursuant to Federal
Rule of Criminal Procedure 4.1.

 March 25, 2025                                           at    Atlanta, Georgia
 Date                                                           City and State



 REGINA D. CANNON
 UNITED STATES MAGISTRATE JUDGE
 Name and Title of Judicial Officer                             Signature of Judicial Officer


 AUSA Bethany L. Rupert /
 Bethany.Rupert@usdoj.gov
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         AFFIDAVIT IN SUPPORT OF COMPLAINT AND WARRANT
   1. I, Zachary S. Howard, Special Agent with the Bureau of Alcohol, Tobacco,
Firearms, and Explosives (“ATF”), depose and say under penalty of perjury that
the following is true and correct to the best of my knowledge and belief:
                                       PURPOSE
   2. I make this affidavit in support of an Application for a Criminal Complaint
and Arrest Warrant for Carlos SAMBRANO (“SAMBRANO”) because probable
cause exists to believe that SAMBRANO violated 18 U.S.C. §§ 932 (straw
purchasing conspiracy) and 922(g)(1) (possession of a firearm by a convicted felon)
in the Northern District of Georgia.
                            AGENT BACKGROUND

   3. . I am a “federal law enforcement officer” within the meaning of Federal
Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in
enforcing the criminal laws and duly authorized by the Attorney General to
request a search warrant. I am presently employed as a Special Agent with the
United States Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF), where
I have worked since January 14th, 2024. I am presently assigned to Atlanta Group

I of the ATF’s Atlanta Field Division. In that capacity, my duties include
investigating federal criminal offenses in the Northern District of Georgia.
   4. During my tenure as a Special Agent, I completed approximately 480 hours

(12 weeks) of instruction at the Federal Law Enforcement Training Center in
Glynco, Georgia (FLETC) as part of the Criminal Investigator Training Program
(CITP). CITP provides fundamental training in the techniques, concepts, and

methodologies of conducting criminal investigations. Some of the subjects covered


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in include training in firearms, physical techniques, driving techniques,
handcuffing, interviewing, surveillance, crime scene management, photography,
basic firearms training, and federal court procedures. Upon graduation from CITP,
I attended and completed approximately 600 hours (15 weeks) of instruction at the
ATF’s Special Agent Basic Training Program (SABT). SABT provides fundamental
training in the techniques, concepts, and methodologies of conducting criminal
investigations specific to ATF. Some of the subjects covered in SABT include
training in investigations related to firearms, arson, explosives, narcotics, gangs

and criminal groups, use of confidential informants and undercover officers in
investigations, physical techniques, interviewing, electronic, physical, and mobile
surveillance, crime scene management, basic firearms training, and federal court

procedures. During my training, I completed blocks of instruction and labs that
have enabled me to identify potential sources of electronic evidence, including but
not limited to computers, cell phones, and other digital storage media and to
preserve and exploit such evidence. Additionally, I have consulted with law
enforcement officers and other professionals who specialize in identifying,
collecting, and preserving electronic evidence.
   5. Prior to my tenure as a Special Agent, from 2019-2024, I was an Assistant
United States Attorney (AUSA) and Special Assistant United States Attorney
(SAUSA) in the U.S. Attorney’s Office for the Northern District of Georgia. During
my time as an AUSA and SAUSA I was a federal criminal prosecutor focusing
primarily on large scale narcotics and firearms crimes. From 2016-2019, I was the
Deputy Director of Legal Services and Legal Services Officer for the Georgia
Department of Public Safety (GDPS). During my tenure with GDPS, I provided


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legal and policy services and training to members of the Georgia State Patrol,
Georgia Motor Carrier Compliance Division, and Georgia Capitol Police. From
2013-2016, I was an Associate Attorney employed by Oliver Maner LLP in
Savannah, Georgia. During my time with Oliver Maner, I represented law
enforcement officers and entities and other municipal and county employees and
entities in state and federal court litigation relating to, among other things, claims
of false arrest, false imprisonment, excessive use of force, violations of 42 U.S.C. §
1983, and violations of state and federal constitutional rights. From 2012-2013, I

was a Police Officer and then Senior Police Officer with the Gwinnett County
Police Department (GCPD). During my tenure with GCPD I was a patrol officer
assigned to the Central Precinct. Among other things, I responded to calls for

service, investigated criminal violations of law, made arrests, and issued traffic
citations. I am a cum laude graduate of the University of Georgia School of Law
and a graduate with highest honors from the Georgia Institute of Technology’s
College of Management.
                          SOURCES OF INFORMATION
   6. I make this affidavit based upon personal knowledge derived from my
participation in this investigation, including information I have learned from
discussions with Special Agents and other law enforcement officers, witness
interviews, corporate records, and other related documents.
   7. I have endeavored to make clear which facts stated in this affidavit are based
upon my own personal observations and which are not. Unless otherwise noted,
factual statements not based upon my personal observations are based upon
information received from one or more law enforcement officers who may have


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either direct or hearsay knowledge of the factual statement, such knowledge
having been conveyed to me either personally or through a report that I have
reviewed. Wherever in this affidavit I state my belief, such belief is based upon my
training and experience and upon the information obtained through this
investigation.
    8. The facts relayed in this affidavit do not reflect the totality of information
known to me or other agents and officers, but instead are merely the facts
necessary to establish probable cause. I do not rely upon facts not set forth herein

in reaching my conclusion that a warrant should be issued, nor do I request that
this Court rely upon any facts not set forth herein in reviewing this affidavit in
support of the application for a warrant.

                                         PROBABLE CAUSE
    9. ATF, HSI, and DEA agents are investigating the ongoing straw purchasing
of belt-fed firearms including .50 caliber rifles, M240B rifles, M249S rifles, and M2
belt-fed .50 caliber rifles in Georgia. The investigation has shown that these
firearms are being purchased for cash at various Federal Firearms Licensees
(“FFLs”) located in the state of Georgia. The firearms are then consolidated and
trafficked to Mexico. Agents have identified purchases from straw purchasers1
beginning in June of 2023.
    10. Furthermore, DEA has seized approximately one metric ton of
methamphetamine coordinated by Servando CORONA-PENALOZA, who is one


1
  For the purposes of this affidavit, a “straw purchase” is the purchase of a firearm by a person on behalf
of or at the request of another individual (the “actual purchaser”) for the purposes of (1) circumventing
legal restrictions that may otherwise prevent or hinder the actual purchaser from directly purchasing the
firearm; and/or (2) hiding the actual purchaser’s identity.


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of the main targets of this investigation. During a custodial interview on
February 14, 2025, CORONA-PENALOZA admitted to ATF and DEA agents that
he was responsible for the import of narcotics to the U.S. and the export of
firearms to Mexico.
   11. On October 7, 2024, ATF agents received notification from a source of
information (SOI) at Dixie Ammo Dump—an FFL in Hoschton, Georgia (in the
Northern District of Georgia)—that Victor MENDOZA-ORTIZ, who is a
suspected straw purchaser working for CORONA-PENALOZA, was in the store

purchasing a Barrett .50 caliber rifle. The SOI advised MENDOZA-ORTIZ had
previously purchased another .50 caliber rifle. Agents later received the ATF
Form 4473s completed by MENDOZA-ORTIZ and found he had purchased two

Barrett, M82A1, .50 caliber rifles—one on September 18, 2024, and one on
October 7, 2024. Per the receipts, MENDOZA-ORTIZ paid approximately $19,100
in cash for the two firearms. To date, MENDOZA-ORTIZ has paid
approximately $40,234.90 in cash for all his firearm purchases.
   12. On October 17, 2024, ATF agents retrieved surveillance footage from Dixie
Ammo Dump, which documented the firearms purchases by MENDOZA-ORTIZ
on September 18, 2024, and October 7, 2024. The surveillance shows that, on both
dates, MENDOZA- ORTIZ was accompanied by SAMBRANO.
   13. On January 13, 2025, ATF Atlanta Group 1 agents were notified by an SOI
from Carroll’s Gun & Pawn Shop—an FFL in Roberta, Georgia (in the Middle
District of Georgia)—of an attempted purchase of a .50 caliber rifle by two
Hispanic males. The males were advised by the pawn shop to return the
following day, January 14, 2025, to complete the purchase.


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   14. On January 14, 2025, Luis CHAVARRIA traveled to Carroll’s Gun & Pawn
Shop and purchased a Barrett, model M107A1, .50 caliber rifle for approximately
$13,598 in cash. CHAVARRIA was accompanied by SAMBRANO while in the
store. After completing the purchase, CHAVARRIA drove away from the store.
Shortly thereafter, Georgia State Patrol conducted a traffic stop on CHAVARRIA
and SAMBRANO’s car at mile marker 5 on State Road 42 in Roberta, Georgia.
   15. During the traffic stop, ATF agents interviewed CHAVARRIA and
SAMBRANO. CHAVARRIA and SAMBRANO provided inconsistent responses

regarding the purchase of the Barrett rifle. For instance, CHAVARRIA stated that
he and SAMBRANO split the cost of the rifle, whereas SAMBRANO stated that
he did not contribute any money toward the purchase and that all the money

came from CHAVARRIA. SAMBRANO also stated that he was a convicted felon
but then corrected himself and stated that he believed his charge was reduced to
a misdemeanor when he was convicted. ATF agents conducted a check of
SAMBRANO’s criminal record and determined that he had a felony drug
trafficking conviction from Alabama in 2018.
   16. During the traffic stop, the Barrett rifle was located in the rear cargo area
of the SUV in which CHAVARRIA and SAMBRANO were travelling.
SAMBRANO was in actual possession of .50 caliber ammunition that he and
CHAVARRIA purchased at the FFL. That is, the ammunition was on the center
console between the driver’s and passenger’s seats and SAMBRANO picked up
the ammunition and manipulated it.
   17. SAMBRANO stated during the traffic stop that he resided at 2849 Maple
Grove Drive in Rex, Georgia. Agents later determined that “2849” is not a valid


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address on Maple Grove Drive. However, 2848 Maple Grove Drive was the
closest valid address. Agents later conducted surveillance at this address (the
SAMBRANO residence) and observed a black 2014 Chrysler 300 and a black
Dodge Durango both registered to Glorimar ORTIZ at the SAMBRANO
residence. Agents know ORTIZ to be SAMBRANO’s wife because SAMBRANO
stated during the January 14, 2025, traffic stop that his phone was registered in
his wife's name, who he identified as ORTIZ.
   18. Three cell phones were seized during the traffic stop. The first (“Device 1”)
was found on SAMBRANO’s person, and he claimed possession of it. An
extraction of Device 1 revealed calls to known co-conspirators, images of
firearms, and videos involving firearms. One such video showed SAMBRANO
wearing a distinct gold necklace with a gold medallion while inside of a
residence brandishing what appears to be two firearms: a rifle and a handgun.

   19. A second phone (“Device 2”) was seized from CHAVARRIA’s person, and
he claimed possession of it.
   20. The third phone (“Device 3”) was seized from the front passenger side
door pocket of the vehicle next to where SAMBRANO was seated. Neither
SAMBRANO nor CHAVARRIA claimed possession of Device 3 but given its
location, Agents believed it belonged to SAMBRANO. Agents searched this
device and found extensive evidence indicating that the device was used by
SAMBRANO (e.g. “selfie” style photographs of SAMBRANO). Device 3
contained voice and text message conversations pertaining to buying and selling
firearms as well as narcotics.

         a. One video located on Device 3 was recorded inside a residence that


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             contained money counters, large amounts of cash, and what appears
             to be narcotics packaged in kilogram quantities. In this specific
             video, a male voice says in Spanish, “I’m working Armani, I’m
             working.” Agents know Armani to be a nickname for CORONA-
             PENALOZA.
          b. Other pictures and videos located on Device 3 show what appear to
             be kilogram amounts of narcotics including but not limited to
             cocaine and methamphetamine with symbols stamped on the

             suspected narcotics. This use of stamped symbols is a common
             method for drug traffickers to identify specific products and the
             source of those products for the purposes of tracking, distribution,

             and sales.
          c. Another video on Device 3 shows automatic rifles being shot
             outdoors by a male who resembles CHAVARRIA.
          d. Finally, a video on Device 3 recorded on the same day as the traffic
             stop, January 14, 2025, shows the inside of Carroll’s Gun & Pawn
             Shop, the purchased Barret .50 caliber rifle, and CHAVARRIA
             standing at the counter looking at the Barret .50 caliber rifle.
   21. Location information from the seized phones also indicated that
SAMBRANO was present at the SAMBRANO residence on January 13, 2025,
and January 14, 2025, immediately prior to travelling to Carroll’s Gun & Pawn
Shop.
                                  CONCLUSION

   22. Based on the foregoing I respectfully request that the Court issue a


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Criminal Complaint and Arrest Warrant for SAMBRANO for violating 18 U.S.C.
§§ 932 (straw purchasing conspiracy) and 922(g)(1) (possession of a firearm by a
convicted felon) beginning on a date and unknown but at least as early as
September 18, 2024, and continuing through at least January 14, 2025.
                              END OF AFFIDAVIT




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